         Case 1:18-cv-11929-RGS Document 6 Filed 09/14/18 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS

_________________________________________
DR. SHIVA AYYADURAI,                      )
                     Plaintiff,           )
                                          )
          v.                              ) C.A. No. 1:18-cv-11929-RGS
                                          )
THE UNIVERSITY OF MASSACHUSETTS,          )
MARTY MEEHAN, DAVID CASH,                 )
                     Defendants.          )
_________________________________________

           EMERGENCY MOTION FOR PRELIMINARY INJUNCTION
                 PURSUANT TO FED. R. CIV. PRO. 65(a)

      Plaintiff DR. SHIVA AYYADURAI, by and through undersigned counsel,

moves move this Honorable Court to enjoin Defendants THE UNIVERSITY OF

MASSACHUSETTS, MARTY MEEHAN, and DAVID CASH from conducting the

United States Senate debates October 21, 2018, and October 30, 2018 without

including Plaintiff (collectively the “Arbitrary debates”) and the debate scheduled

for October, 15, 2018 without affording Plaintiff an opportunity to earn participation

therein (the “Criteria debate).

      This Motion is based upon the Verified Complaint, the motion for preliminary

injunction, and the attached memorandum of points and authorities, which includes

the irreparable injury that he will suffer in the absence of relief, any material in this

Court’s files, and any other relevant matter to be considered by this Court.
        Case 1:18-cv-11929-RGS Document 6 Filed 09/14/18 Page 2 of 2




      Because of the looming debate schedule and the irreparable harm posed to the

Plaintiff if he is excluded, the Plaintiff respectfully requests oral argument and a

decision on an expedited basis.

      Defendants have stated they oppose this motion.

      Plaintiffs respectfully ask that this motion be granted, and request oral

argument at the Court’s earliest convenience.

      Respectfully submitted,

      September 14, 2018                      /s/ Timothy Cornell

                                              Timothy Cornell BBO # 654412
                                              Cornell Dolan, P.C.
                                              One International Place, Suite 1400
                                              Boston, MA 02110
                                              (617) 535-7763
                                              (617) 535-7650 (fax)
                                              tcornell@cornelldolan.com

                                              Jason Torchinsky (VA 47481)
                                              Dennis W. Polio (CT 438205)
                                              (Pro hac vice applications to be filed)
                                              HOLTZMAN VOGEL
                                              JOSEFIAK TORCHINSKY PLLC
                                              45 North Hill Drive, Suite 100
                                              Warrenton, VA 20186
                                              (540) 341-8808
                                              Fax: (540) 341-8809
                                              jtorchinsky@hvjt.law
                                              dwpolio@hvjt.law
                                              ATTORNEYS FOR PLAINTIFF




                                          2
